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8                               UNITED STATES DISTRICT COURT

 9                            CENTRAL DISTRICT OF CALIFORNIA

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11   DALE R.1, an Individual,                     Case No.: 5:20-00609 ADS

12                       Plaintiff,

13                       v.
                                                  JUDGMENT OF DISMISSAL
14   KILOLO   KIJAKAZI2, Acting
     Commissioner of Social Security,
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                         Defendant.
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     1 Plaintiff’s name has been partially redacted in compliance with Federal Rule of Civil
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     Procedure 5.2(c)(2)(B) and the recommendation of the Committee on Court
     Administration and Case Management of the Judicial Conference of the United States.
22   2 The Complaint, and thus the docket caption, do not name the current Acting

     Commissioner. The parties list Andrew M. Saul as the Commissioner in the Joint
23
     Stipulation. On July 9, 2021, Kijakazi became the Acting Commissioner of Social
     Security. Thus, he is automatically substituted as the defendant under Federal Rule of
24
     Civil Procedure 25(d).


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 1          In accordance with the Memorandum Opinion and Order, Dkt. No. 20, filed

 2   concurrently herewith,

 3          IT IS ORDERED AND ADJUDGED that the decision of the Commissioner of

 4   Social Security is affirmed, and this action is dismissed with prejudice.

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 7   DATE: September 23, 2021

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                                              /s/ Autumn D. Spaeth
 9                                      THE HONORABLE AUTUMN D. SPAETH
                                        United States Magistrate Judge
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